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                 EXHIBIT 3
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                   1   COOLEY LLP
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                   2   (rhodesmg@cooley.com)
                       MATTHEW D. BROWN (196972)
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                       JEFFREY M. GUTKIN (216083)
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                       101 California Street, 5th Floor
                   5   San Francisco, CA 94111-5800
                       Telephone:     (415) 693-2000
                   6   Facsimile:     (415) 693-2222
                   7   Attorneys for Defendant
                       FACEBOOK, INC.
                   8

                   9                                 UNITED STATES DISTRICT COURT

                 10                               NORTHERN DISTRICT OF CALIFORNIA

                 11                                          SAN JOSE DIVISION

                 12

                 13    In re: Facebook Internet Tracking Litigation         Case No. 5:12-md-02314 EJD

                 14                                                         DEFENDANT FACEBOOK, INC.’S INITIAL
                                                                            DISCLOSURES (FED. R. CIV. P. 26(a)(1))
                 15

                 16
                                                                            JUDGE:              Edward J. Davila
                 17                                                         TRIAL DATE:         Not Set

                 18

                 19           Defendant Facebook, Inc. (“Facebook”) makes the following initial disclosures, as

                 20    required by Federal Rule of Civil Procedure 26(a)(1). These disclosures are based on information

                 21    reasonably available to Facebook at this time. Facebook reserves the right to clarify, supplement,

                 22    alter, or amend its initial disclosures as discovery progresses and as additional information

                 23    becomes available through further investigation or discovery. Facebook reserves its right to

                 24    object to any discovery propounded by Plaintiffs.

                 25           By making these initial disclosures, Facebook does not concede the relevance of any of

                 26    the information provided, and Facebook does not represent that these disclosures identify every

                 27    document, tangible thing, or witness relevant to the claims and/or defenses of any party to this

                 28    action. Facebook reserves the right to call any witness or present any exhibit or item at trial not
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ATTORNEYS AT LAW                                                                        DEF. FACEBOOK’S INITIAL DISCLOSURES
 SAN FRANCISCO
                                                                       1.                        CASE NO. 5:12-MD-02314 EJD
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                   1   listed here, but identified through discovery or investigation during this action. In addition to the
                   2   individuals listed below, Facebook also incorporates by reference the disclosures made by any
                   3   other party in this action.
                   4           Facebook makes the following disclosures without waiving any applicable privilege,
                   5   doctrine, or right, including without limitation the attorney-client privilege, the work product
                   6   doctrine, and all other rights and privileges recognized under the laws of the United States, the
                   7   State of California, and all relevant jurisdictions. By these disclosures, Facebook does not
                   8   represent or agree that any witness or document identified below has relevant or admissible
                   9   information.
                 10    I.      DISCLOSURE OF INDIVIDUALS (RULE 26(a)(1)(A)(i))
                 11            Subject to the above qualifications, and without prejudice to Facebook’s right to offer
                 12    testimony at trial or elsewhere from any of the following individuals on topics other than
                 13    specified below, Facebook discloses the following individuals under Rule 26(a)(1)(A)(i):
                 14

                 15             Individual           Contact Information                     Subject Matter

                 16    1.       Alex Himel,          Facebook, Inc.                          Data that Facebook receives
                                Manager,             c/o Cooley LLP                          when users visit a third party
                 17             Engineering          101 California Street, 5th Floor        website with a Facebook
                                                     San Francisco, CA 94111-5800            feature (such as a social
                 18                                  Tel: (415) 693-2000                     plugin), including through
                                                                                             cookies.
                 19
                       2.       Gregg Stefancik,     Facebook, Inc.                          Data that Facebook receives
                 20             Manager,             c/o Cooley LLP                          when users visit a third party
                                Engineering          101 California Street, 5th Floor        website with a Facebook
                 21                                  San Francisco, CA 94111-5800            feature (such as a social
                                                     Tel: (415) 693-2000                     plugin), including through
                 22                                                                          cookies; Facebook’s use of
                                                                                             cookies; and Facebook’s
                 23
                                                                                             Platform for Privacy
                 24                                                                          Preferences (P3P) compact
                                                                                             policy.
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                   1
                               Individual          Contact Information                   Subject Matter
                   2   3.      Scott Renfro,     Facebook, Inc.                          Data that Facebook receives
                   3           Software Engineer c/o Cooley LLP                          when users visit a third party
                                                 101 California Street, 5th Floor        website with a Facebook
                   4                             San Francisco, CA 94111-5800            feature (such as a social
                                                 Tel: (415) 693-2000                     plugin), including through
                   5                                                                     cookies; Facebook’s use of
                                                                                         cookies; and Facebook’s
                   6                                                                     Platform for Privacy
                   7                                                                     Preferences (P3P) compact
                                                                                         policy.
                   8   4.-7.   Perrin Davis,       (Plaintiffs)                          Information concerning
                               Cynthia Quinn,                                            (among other things) their:
                   9           Brian Lentz, and                                          use of the Internet;
                               Matthew Vickery                                           disclosures or notices they
                 10
                                                                                         viewed regarding the same;
                 11                                                                      terms they agreed to
                                                                                         regarding the same;
                 12                                                                      knowledge of the operation
                                                                                         of the Internet; knowledge of
                 13                                                                      social plugins and cookies;
                                                                                         claims of injury and damage
                 14
                                                                                         resulting from the conduct
                 15                                                                      alleged in the complaint; and
                                                                                         relationships with counsel
                 16                                                                      for Plaintiffs, including how
                                                                                         each Plaintiff became
                 17                                                                      involved in this action.
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                   1
                                 Individual           Contact Information                   Subject Matter
                   2   8.-30.    Sharon Beatty,      (Plaintiffs)                           Information concerning
                                 Lana Brkic,                                                (among other things) their:
                   3
                                 Jacqueline                                                 use of the Internet;
                   4             Burdick, Stephanie                                         disclosures or notices they
                                 Campbell, Julian                                           viewed regarding the same;
                   5             Carroll, John                                              terms they agreed to
                                 Graham, Petersen                                           regarding the same;
                   6             Gross, David M.                                            knowledge of the operation
                                 Hoffman, Dana                                              of the Internet; knowledge of
                   7             Howard,                                                    social plugins and cookies;
                                 Tommasina
                   8                                                                        claims of injury and damage
                                 Iannuzzi, Joon
                                                                                            resulting from the conduct
                   9             Khang, Patrick K.
                                 Maloney,
                                                                                            alleged in the complaint; and
                                 Alexandria Parrish,                                        relationships with counsel
                 10
                                 Jane Peddicord,                                            for Plaintiffs, including how
                 11              Brooke Rutledge,                                           each Plaintiff became
                                 Tracy Sauro,                                               involved in this action.
                 12              Jennifer Sauro,
                                 Lisa Sabato, Janet
                 13              Seamon,
                 14              Christopher Simon,
                                 Edward Stravato,
                 15              Chandra L.
                                 Thompson, and
                 16              Jeanne M. Walker

                 17
                       II.      DESCRIPTION OF DOCUMENTS IN FACEBOOK’S POSSESSION, CUSTODY, OR CONTROL
                 18             (RULE 26(a)(1)(A)(ii))
                 19
                                Based on presently available information and subject to its continuing investigation,
                 20
                       Facebook submits the following descriptions of documents that it may use in support of its claims
                 21
                       or defenses in this action that are within its possession, custody, or control. Facebook reserves
                 22
                       the right to identify additional categories and locations of documents as the case proceeds.
                 23
                                1.     Documents relating to data that Facebook receives when users visit a third party
                 24
                       website with a Facebook feature (such as a social plugin), including through cookies.
                 25
                                2.     Documents related to Facebook’s use of cookies.
                 26
                                3.     Documents relating to Facebook’s data use policies and terms of service, including
                 27
                       Facebook’s Statement of Rights and Responsibilities, Privacy Policy, and Data Use Policy.
                 28
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                   1             4.     Documents relating to data that websites other than Facebook receive when users
                   2   visit a third party website with a Facebook feature (such as a social plugin), including through
                   3   cookies.
                   4             5.     Documents relating to the data use policies and terms of service of third party
                   5   websites that use Facebook features such as social plugins.
                   6             6.     Documents relating to any disclosures to the Plaintiffs and putative class members
                   7   of information regarding the collection or use of data on Facebook and other websites.
                   8             7.     Documents relating to the Plaintiffs’ use of Facebook.
                   9             8.     Documents related to Facebook’s Platform for Privacy Preferences compact
                 10    policy.
                 11              9.     Documents identified by any other party to this action.
                 12    III.      COMPUTATION OF DAMAGES (RULE 26(a)(1)(A)(iii))
                 13              Facebook contends that Plaintiffs have not sustained any damages caused by any act or
                 14    omission attributable to Facebook. At present, Facebook reserves the right to seek recovery of
                 15    costs and attorneys’ fees. Facebook also reserves the right to assert a claim for damages in the
                 16    future if doing so is warranted by information revealed or counterclaims asserted during the
                 17    litigation.
                 18    IV.       INSURANCE AGREEMENTS (RULE 26(a)(1)(A)(iv))
                 19              Facebook has no applicable insurance policies to disclose at this time.
                 20

                 21    Dated: July 27, 2012                             COOLEY LLP
                 22

                 23                                                     /s/ Matthew D. Brown
                                                                        Matthew D. Brown (196972)
                 24                                                     Attorneys for Defendant
                                                                        Facebook, Inc.
                 25

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ATTORNEYS AT LAW                                                                         DEF. FACEBOOK’S INITIAL DISCLOSURES
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                   1                                         PROOF OF SERVICE
                                                                 (FRCP 5)
                   2
                                I hereby certify that on July 27, 2012, I served FACEBOOK INC.’S INITIAL
                   3
                       DISCLOSURES via Email on the following counsel of record:
                   4
                       David Straite
                   5   Stewarts Law
                       1201 N. Orange St., Suite 740
                   6   Wilmington, DE 19801
                       Telephone: (302) 573-3560
                   7   Facsimile: (302) 358-2975
                       Email: dstraite@stewartslaw.com
                   8

                   9   Edward D. Robertson III
                       James P. Frickleton
                 10    Bartimus, Frickleton, Robertson & Gorny
                       11150 Overbrook Road, Suite 200
                 11    Leawood, KS 66211
                       Telephone: (913) 266-2300
                 12    Facsimile: (913) 266-2366
                       Email: chiprob@earthlink.net
                 13           crobertson@bflawfirm.com
                              jimf@bflawfirm.com
                 14

                 15             Executed on July 27, 2012, at San Francisco, California.
                 16
                                                                      /s/ Matthew D. Brown
                 17                                                   Matthew D. Brown

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                       2630262/ST
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